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                                     No. 6:22-cr-00027

                                 United States of America
                                            v.
                                   David Paul Beaver


                                         ORDER

                This criminal action was referred to United States Magistrate
            Judge K. Nicole Mitchell for administration of a guilty plea under
            Federal Rule of Criminal Procedure 11. The magistrate judge con-
            ducted a hearing in the form and manner prescribed by Rule 11 and
            issued findings of fact and recommendation on guilty plea. Doc. 28.
            The magistrate judge recommended that the court accept defend-
            ant’s guilty plea and adjudge defendant guilty on count one of the
            indictment. Id. at 2. Defendant waived his right to object to the mag-
            istrate judge’s findings. Id.
                The court hereby accepts the findings of fact and recommenda-
            tion on guilty plea of the United States Magistrate Judge. The court
            also accepts defendant’s plea but defers acceptance of the plea
            agreement until after review of the presentence report.
                In accordance with defendant’s guilty plea, the court finds de-
            fendant David Paul Beaver guilty of count one of the indictment,
            charging a violation of 21 U.S.C. § 841(a)(1) - Possession with Intent
            to Distribute Methamphetamine.
                                         So ordered by the court on June 24, 2022.



                                                 J. C AMPBELL B ARKER
                                                 United States District Judge
